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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

    IN RE: RON AND LARHONDA WILSON                           CIVIL ACTION

                                                             NO.: 12-882

                                                             SECTION: “F”

                                  ORDER AND REASONS

          Before the Court is the Bankruptcy Court’s reference of

    proposed findings of fact and conclusions of law, asking that

    this Court enter sanctions against Lender Processing Services, a

    party to an ongoing bankruptcy proceeding.

          As this is a reference initiated sua sponte by the

    Bankruptcy Court, and not an appeal by the parties, the Court

    finds that it has no jurisdiction to hear the matter.                 See In re

    Biglari Import & Export, Inc., 142 B.R. 777, 780 (Bankr. W.D.

    Tex. 1992) (“The reference statute is a “one-way” street from the

    district court to the bankruptcy court.             The district court, upon

    motion to that court or on its own motion, may withdraw this

    reference [...] as it sees fit, but the bankruptcy court has no

    statutory authority to send the case back to the district

    court.”); see also Blackwell v. Zollino (In re Blackwell), 267

    B.R. 724, 731 (Bankr. W.D. Tex. 2001) (“Complete or partial

    withdrawal of the reference, however, is a decision to be made by

    the district court, not the bankruptcy court.”).

          Accordingly, IT IS ORDERED: the Bankruptcy Court’s reference


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    is dismissed, and the Court orders that this case be closed.

          IT IS FURTHER ORDERED: Lender Processing Services’ motion to

    withdraw reference, motion to stay pending status conference, and

    motion for expedited consideration are DENIED AS MOOT.



                                   New Orleans, Louisiana, April 20, 2012.



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                                                MARTIN L. C. FELDMAN

                                           UNITED STATES DISTRICT JUDGE




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